Case 5:23-cv-00819-SSS-KK Document 1 Filed 05/08/23 Page 1 of 6 Page ID #:1




 1   P. Kristofer Strojnik, SBN 242728
     pstrojnik@strojniklaw.com
 2   Esplanade Center III, Suite 700
 3   2415 East Camelback Road
     Phoenix, Arizona 85016
 4   415-450-0100 (tel.)
 5
     Attorneys for Plaintiff
 6
                                 UNITED STATES DISTRICT COURT
 7
 8                            CENTRAL DISTRICT OF CALIFORNIA

 9   THERESA BROOKE, a married woman
     dealing with her sole and separate claim,      Case No:
10
11                           Plaintiff,             VERIFIED COMPLAINT
12   vs.                                            (JURY TRIAL DEMANDED)
13
     H COAST LLC, a California limited
14   liability company,
15
                             Defendant.
16
            Plaintiff alleges:
17
                                              PARTIES
18
            1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
19
     and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
20
     the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
21
     California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
22
     to the loss of a leg.
23
            2.      Defendant, H Coast LLC, owns and/or operates and does business as the
24
     hotel Hampton Inn & Suites Hemet located at 3700 West Florida Avenue, Hemet,
25
     California 92545. Defendant’s hotel is a public accommodation pursuant to 42 U.S.C. §
26
     12181(7)(A), which offers public lodging services. On information and belief,
27
     Defendant’s hotel was built or renovated after March 15, 2012.
28
Case 5:23-cv-00819-SSS-KK Document 1 Filed 05/08/23 Page 2 of 6 Page ID #:2




 1                                          JURISDICTION
 2          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
 3   U.S.C. § 12188.
 4          4.     Plaintiff’s claims asserted herein arose in this judicial district and
 5   Defendant does substantial business in this judicial district.
 6          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
 7   in that this is the judicial district in which a substantial part of the acts and omissions
 8   giving rise to the claims occurred.
 9          6.     Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
10   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
11   decline jurisdiction.
12                                          ALLEGATIONS
13          7.     Plaintiff alleges that Defendant’s hotel does not have a compliant access
14   aisle at the passenger loading zone adjacent to the hotel lobby in violation of Sections
15   209 and 503 of the 2010 Standards. An access aisle has specific requirements to be
16   compliant with the Standards: It must be (1) 60 inches wide and at least 20 feet long, (2)
17   it must have an accessible route adjoining it, and (3) it cannot be within a vehicular
18   way. Section 503.3.
19          8.     The requirement for an access aisle at a passenger loading zone is
20   immensely important for a person in a wheelchair such as Plaintiff, as it provides safe
21   access to the entry of the hotel and deters others from placing encumbrances or
22   obstacles there such as a vehicle parking. An access aisle is akin to a cross-walk for
23   pedestrians. Absence of an access aisle where required creates dangerous conditions for
24   a person in a wheelchair such as Plaintiff.
25          9.     Plaintiff formerly worked in the hospitality industry. She and her husband
26   are avid travelers to California for purposes of leisure travel and to “test” whether
27   various hotels comply with disability access laws. Testing is encouraged by the Ninth
28   Circuit.


                                                2
Case 5:23-cv-00819-SSS-KK Document 1 Filed 05/08/23 Page 3 of 6 Page ID #:3




 1          10.    Plaintiff and her husband traveled to Riverside County in early May 2023
 2   for testing ADA compliance and leisure travel. She anticipates returning to Riverside
 3   County in early June and several times in the next year for testing, leisure and checking
 4   on compliance with past testing. She also anticipates court-related appearances as part
 5   of her litigation testing. Plaintiff also has concrete plans to lodge at Defendant’s hotel in
 6   October 2023, but she will not honor her concrete plans if Defendant has not provided
 7   notice of remediation by then.
 8          11.    During this trip, Plaintiff personally visited Defendant’s hotel.
 9   Defendant’s hotel has a passenger loading zone because pickup and dropoff occurs
10   there and it is located directly outside of the lobby entrance. There are also design
11   features showing an intent for utilization as a passenger loading zone. For example,
12   there is a porte cochere, which by definition is a design feature for passenger loading
13   zones. According to the U.S. Access Board Technical Guidelines on Passenger Loading
14   Zones, passenger loading zones are so common at hotels that even it recognizes “many
15   hotel entrances” have the design features indicating an intent to utilize as PLZs.
16          12.    While at Defendant’s hotel, she discovered that Defendant’s hotel has a
17   barrier to entry to the lobby, which is that the passenger loading zone does not have an
18   access aisle compliant with Section 503.3. It is an absolute requirement to have an
19   access aisle at a passenger loading zone pursuant to Sections 209 and 503. The
20   requirement of an access aisle at a passenger loading zone relates to Plaintiff’s
21   disability of not having one leg and being forced to use a wheelchair because access
22   aisles are required so persons in a wheelchair can maneuver without threat of danger
23   from other vehicles and without other encumbrances obstructing their pathway. The
24   lobby, therefore, is inaccessible to Plaintiff by way of the passenger loading zone
25   because there is no access aisle.
26          13.    Plaintiff gained actual and personal knowledge of a barrier while visiting
27   Defendant’s hotel (no access aisle at passenger loading zone), and as a result, she was
28   deterred from entering the hotel both from the barrier and due to the lack of equality.


                                                3
Case 5:23-cv-00819-SSS-KK Document 1 Filed 05/08/23 Page 4 of 6 Page ID #:4




 1   She anticipates returning to this hotel and has concrete plans to do so in October 2023
 2   (see above), but she will only lodge at the hotel if Defendant puts the required access
 3   aisle into place and gives notice of such remediation before her definitive return.
 4   Visiting otherwise would be futile because the lack of the access aisle represents a
 5   barrier to entering the lobby.
 6          14.    It is readily achievable and inexpensive to modify the hotel to provide an
 7   access aisle, which involves painting and measuring tools.
 8          15.    Without injunctive relief, Plaintiff and others will continue to be unable to
 9   independently use Defendant’s hotel in violation of her rights under the ADA.
10                                    FIRST CAUSE OF ACTION
11          16.    Plaintiff incorporates all allegations heretofore set forth.
12          17.    Defendant has discriminated against Plaintiff and others in that it has
13   failed to make its public lodging services fully accessible to, and independently usable
14   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
15   121282(b)(2)(iv) and the 2010 Standards, as described above.
16          18.    Defendant has discriminated against Plaintiff in that it has failed to
17   remove architectural barriers to make its lodging services fully accessible to, and
18   independently usable by individuals who are disabled in violation of 42 U.S.C.
19   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
20   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
21   services nor result in an undue burden to Defendant.
22          19.    In violation of the 2010 Standards, Defendant’s hotel passenger loading
23   zone does not have a disability access aisle compliant with Section 503.3 of the
24   Standards.
25          20.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
26   as described above, is readily achievable by the Defendant. Id. Readily achievable
27
28


                                               4
Case 5:23-cv-00819-SSS-KK Document 1 Filed 05/08/23 Page 5 of 6 Page ID #:5




 1   means that providing access is easily accomplishable without significant difficulty or
 2   expense.
 3          21.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
 4   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
 5          22.      Without the requested injunctive relief, Defendant’s non-compliance with
 6   the ADA’s requirements that its passenger loading zone be fully accessible to, and
 7   independently useable by, disabled people is likely to recur.
 8          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 9                a. Declaratory Judgment that at the commencement of this action Defendant
                     was in violation of the specific requirements of Title III of the ADA
10                   described above, and the relevant implementing regulations of the ADA;
11
                  b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
12                   36.504(a) which directs Defendant to take all steps necessary to bring its
13                   passenger loading zone into full compliance with the requirements set
                     forth in the ADA;
14
                  c. Payment of costs and attorney’s fees;
15
16                d. Provision of whatever other relief the Court deems just, equitable and
                     appropriate.
17                                  SECOND CAUSE OF ACTION
18
            23.      Plaintiff realleges all allegations heretofore set forth.
19
            24.      Defendant has violated the Unruh by denying Plaintiff equal access to its
20
     public accommodation on the basis of her disability as outlined above.
21
            25.      Unruh provides for declaratory and monetary relief to “aggrieved
22
     persons” who suffer from discrimination on the basis of their disability.
23
            26.      Plaintiff has been damaged by the Defendant’s non-compliance with
24
     Unruh.
25
            27.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
26
     relief as the Court considers appropriate, including monetary damages in an amount of
27
     $4,000.00, and not more.
28


                                                  5
Case 5:23-cv-00819-SSS-KK Document 1 Filed 05/08/23 Page 6 of 6 Page ID #:6




 1          28.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
 2   amount to be proven at trial.
 3          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 4                a. Declaratory Judgment that at the commencement of this action Defendant
                     was in violation of the specific requirements of Unruh; and
 5
 6                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                     36.504(a) which directs Defendant to take all steps necessary to bring its
 7                   passenger loading zone into full compliance with the requirements set
 8                   forth in the ADA;

 9                c. Payment of costs and attorney’s fees;
10                d. Damages in the amount of $4,000.00; and
11
                  e. Provision of whatever other relief the Court deems just, equitable and
12                   appropriate.
                                     DEMAND FOR JURY TRIAL
13
            Plaintiff hereby demands a jury trial on issues triable by a jury.
14
15
            RESPECTFULLY SUBMITTED this 7th day of May, 2023.
16
17                                                /s/ P. Kristofer Strojnik
                                                  P. Kristofer Strojnik (242728)
18                                                Attorneys for Plaintiff
19
                                             VERIFICATION
20
            I declare under penalty of perjury that the foregoing is true and correct.
21
22                          DATED this 7th day of May, 2023.
23
24
25
                     ______________________
26                   Theresa Marie Brooke
27
28


                                                 6
